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 8                          UNITED STATES DISTRICT COURT

 9                         SOUTHERN DISTRICT OF IALIFORNIA

10
     UNITED STATES OF AMERICA,
                               November
                                          2019 Grand
                                              Case No.
                                                       Jui!9CR 497 QJM
11                                                       -----------

12                    Plaintiff,
                                             ! :ti _Qi! f I ~ ~ :ti     T            J
13        v.                                 Title ·18, u.s.c.,  Sec. 1594 -
                                               Conspiracy; Title 18, U.S.C.,
14 CINDY MYDUNG LUU (1),                       Sec. 158l(a) - Peonage; Title 18,
   JASON LUU (2),                              U.S.C., Sec. 1589 - Forced Labor;
15                                             Title 18, U.S.C., Sec. 1590 -
                      Defendants.              Trafficking in Forced Labor;
16                                             Title 18, U.S.C., Sec. 1592 -
                                               Document Servitude; Title 18,
17                                             U.S.C., Sec. 1593A - Benefitting
                                               Financially from Peonage;
18                                             Title 18, U.S.C., Sec. 2 - Aiding
                                               and Abetting; Title 18, U.S.C.,
19                                             Sec. 1546(a) - False Swearing in
                                               Immigration Matter; Title 18,
20                                             U.S.C., Sec. 1594(d), and
                                               Title 28, U.S.C., Sec. 246l(c) -
21 ~ - - - - - - - - - - - - - - - - - - - - ' Criminal Forfeiture
22      The grand jury charges:

23                               INTRODUCTORY ALLEGATIONS

24   At all times relevant to this indictment:

25        1.   The defendants were siblings and lived at a                  residence they

26   owned, located at 5155 Avenida Playa Cancun, San Diego, California 92124,

27   in the Tierrasanta neighborhood.

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     CPT:nlv(3) :San Diego:12/10/19
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 1           2.         The defendants owned Eden Nails Lounge                &   Spa ("Eden"), located
 2   at 15721 Bernardo Heights Parkway, #C, San Diego, California 92128, and
 3   Majestic Nail            Salon       ("Majestic"),         located at   15731 Bernardo Heights

 4   Parkway,       Unit      102,    San Diego,       California        92128,    both in the Rancho
 5   Bernardo neighborhood.

 6           3.         The   defendants      were    second-cousins         of "LX,"    a    citizen    of
 7   Vietnam.

 8           4.         LX traveled on a         student visa            from Vietnam to San Diego,

 9   California on September 4, 2014.

10           5.         LX lived at a residence owned by the defendants, located at

11   11398        Via    Playa       De   Cortes,     San       Diego,    California    92124,   in     the

12   Tierrasanta neighborhood,                 from approximately September 4,                2014 until

13   June 6, 2019.

14           6.         LX worked at Majestic from approximately September 5, 2014 to

15   February 2018, and at Eden from approximately February 2018 until June 6,

16   2019.

17           7.         LX was a student at Grossmont College in El Cajon, California

18   from Spring 2015 through Spring 2016.

19           8.         LX was married to defendant JASON LUU on June 20, 2015.

20                                                    Count 1

21                                    [18 U.S.C. § 1594 - CONSPIRACY]

22           9.         The Introductory Allegations contained in paragraphs 1 through
23   8 of this Indictment are realleged and incorporated as if set forth
24   fully herein.

25           10.        From on or about January 1, 2014 until on or about June 24,

26   2019,        within      the     Southern       District       of   California     and   elsewhere,

27   defendants CINDY MYDUNG LUU and JASON LUU,                            did conspire together and

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 1   with each other,        and others known and unknown to the grand jury,                     to

 2   commit one or more of the following offenses against the United States:

 3               a.     Peonage,     that is,   to knowingly hold or return a person

 4   to a condition of peonage, in violation of Title 18, United States Code,

 5   Section 1581;

 6               b.     Forced Labor, that is, to knowingly obtain the labor or

 7   services of a person by means of any scheme, plan, or pattern intended

 8   to cause the person to believe that, if that person did not perform such

 9   labor or services,       that person or another person would suffer serious

10   harm, including psychological, financial, or reputational harm, that is

11   sufficiently serious, under all the surrounding circumstances, to compel

12   a reasonable person of the same background and in the same circumstances

13   to perform or to continue performing labor or services in order to avoid

14   incurring that        harm,    in violation of Title        18,     United States        Code,
15   Section 1589;

16               C.     Trafficking       in   Forced   Labor,     that    is,     to     knowingly

17   recruit,    harbor,     transport,    or obtains by any means,              any person for

18   labor or services in violation of the Forced Labor statute                          (18 U.S.C.

19   § 1589), in violation of Title 18, United States Code, Section 1590;

20               d.     Document Servitude, that is, to knowingly confiscate or

21   possesses    any      actual    or   purported     passport    or     other        immigration

22   document,    or any other actual or purported government identification

23   document, of another person in the course of a violation of Section 1589

24   or 1590,    with intent to violate Section 1589 or 1590,                     to prevent or

25   restrict, or to attempt to prevent or restrict, without lawful authority,

26   the person's liberty to move or travel, in order to maintain the labor

27   or services of that person, when the person is or has been a victim of

28   a severe form of trafficking in persons, as defined in Section 103 of

                                                  3
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 1   the Trafficking Victims Protection Act of 2000, in violation of Title 18,
 2   United States Code, Section 1592.

 3 All in violation of Title 18, United States Code, Section 1594.

 4                                               Count 2
 5                           [18 U.S.C.    §§   1581(a)    &   2 - PEONAGE]

 6           11.   The Introductory Allegations contained in paragraphs 1 through
 7   8 of this Indictment are realleged and incorporated as if set forth
 8   fully herein.

 9           12.   From on or about January 1, 2014 until on or about June 24,

10   2019,     within   the    Southern        District    of     California     and   elsewhere,
11   defendants CINDY MYDUNG LUU and JASON LUU,                    held and returned LX to a

12   condition of peonage;         in violation of Title 18,                 United States Code,
13   Sections 1581(a) and 2.

14                                               Count 3
15                          [18 U.S.C.    §§    1589 & 2 - FORCED LABOR]

16           13.   The Introductory Allegations contained in paragraphs 1 through
17   8 of this Indictment are realleged and incorporated as if set forth

18   fully herein.

19           14.   From on or about January 1, 2014 until on or about June 24,

20   2019,     within   the    Southern        District    of     California     and   elsewhere,
21   defendants     CINDY     MYDUNG     LUU    and   JASON     LUU,   did    knowingly   benefit,
22   financially or by receiving anything of value, from participation in a

23   venture which has engaged in the providing or obtaining of labor or

24   services by means of a scheme, plan, or pattern intended to cause LX to

25   believe that,      if that LX did not perform such labor or services, that

26   LX or another person would suffer serious harm, knowing or in reckless

27   disregard of the fact that the venture has engaged in the providing or

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 1   obtaining of labor or services by such means; in violation of Title 18,
 2   United States Code, Sections 1589 and 2.

 3                                                   Count 4
 4     '[18 U.S.C.      §§   1590   &   2 - TRAFFICKING WITH RESPECT TO FORCED LABOR]

 5           15.   The Introductory Allegations contained in paragraphs 1 through
 6   8 of this      Indictment are realleged and incorporated as if set forth
 7   fully herein.

 8           16.   From on or about, January 1, 2014 until on or about June 24,

 9   2019,     within    the    Southern           District       of    California    and       elsewhere,
10   defendants      CINDY     MYDUNG        LUU     and       JASON    LUU,    knowingly       recruited,

11   harbored,     transported,         and    obtained by             any means,    LX   for    labor    or
12   services in violation of the Forced Labor statute                            (18 U.S.C.      §   1589);

13   in violation of Title 18, United States Code, Sections 1590 and 2.

14                                                   Count 5
15                      [18 U.S.C.      §§    1592   &   2 - DOCUMENT SERVITUDE]

16           17.   The Introductory Allegations contained in paragraphs 1 through
17   8 of this Indictment are realleged and incorporated as if set forth
18   fully herein.

19           18.   On or about on or about,                    January 1,      2014 until on or about
20   June 24, 2019, within the Southern District of California and elsewhere,

21   defendants CINDY MYDUNG LUU and JASON LUU,                            knowingly confiscated or

22   possessed actual or purported passports, immigration documents, or other

23   actual or purported government identification documents, of LX, in the

24   course of a violation of Forced Labor (18 U.S.C. § 1589), or with intent

25   to commit Forced Labor             (18 U.S.C. § 1589), to prevent or restrict, or
26   to attempt to prevent or restrict, without lawful authority, LX's liberty

27   to move or travel,         in order to maintain the labor or services of LX,

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 1   when LX is or has been a victim of Forced Labor (18 U.S.C.                               §   1589); all
 2   in violation of Title 18, United States Code, Sections 1592 and 2.

 3                                                      Count 6
 4         [18 U.S.C.       §§   1593A    &    2 - BENEFITTING FINANCIALLY FROM PEONAGE]

 5             19.   The Introductory Allegations contained in paragraphs 1 through
 6   8 of this Indictment are realleged and incorporated as if set forth
 7   fully herein.

 8             20.   From on or about on or about,                    January 1,       2014 until on or

 9   about June 24,          2019,      within the Southern District of California and

10   elsewhere,       defendants         CINDY MYDUNG LUU and JASON LUU,                    did knowingly
11   benefit,        financially          or       by   receiving          anything    of     value,        from
12   participation in a venture which has engaged in an act of Peonage (18

13   U.S.C. § 1581),         knowing or in reckless disregard of the fact that the
14   venture has engaged in such violation; all in violation of Title 18,
15   United States Code, Sections 1593A and 2.

16                                                      Count 7
17             [18 U.S.C. § 1546(a) - FALSE SWEARING IN IMMIGRATION MATTER]

18             21.   The Introductory Allegations contained in paragraphs 1 through

19   8 of this Indictment are realleged and incorporated as if set forth
20   fully herein.

21             22.   On or about August 13, 2015, within the Southern District of

22   California, defendant JASON LUU did knowingly subscribe as true under

23   penalty of perjury under 28 U.S.C. § 1746, a false statement with respect

24   to    a    material     fact    in       an   application        or    document   required        by    the

25   immigration        laws      and     regulations           prescribed      thereunder,         to      wit,
26   Department        of   Homeland          Security,        U.S.   Citizenship       and       Immigration

27   Services Form I-130, Petition for Alien Relative, that is, the defendant

28   falsely stated that he lived with LX, his spouse, since June 20, 2015,
                                                           6
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 1   and intended to continue to live with LX, at the defendant's residence,
 2   located at 5155 Avenida Playa Cancun, San Diego, California 92124, which
 3   statement the defendant then and there knew was false,                                in that LX had

 4 not lived with defendant,                 did not intend to live with defendant,                      and
 5   lived     at     11398      Via    Playa   De    Cortes,      San    Diego,         California     from

 6 approximately September 4, 2014 until June 6, 2019; all in violation of
 7   Title 18, United States Code, Section 1546(a).

 8                                        FORFEITURE ALLEGATIONS

 9           23.     The allegations contained in Counts                    1 through 6 above are
10   incorporated herein for purposes of alleging forfeiture to the United
11   States pursuant to Title 18, United States Code, Section 1594(d), and
12   Title 28, United States Code, Section 2461(c).

13           24.     Upon conviction of one or more of the offenses set forth in
14   Counts        1 through      6,   and pursuant           to Title    18,    United States        Code,

15   Section 1594 (d),           and Title 28,       United States Code,                 Section 2461 (c),
16   defendants CINDY MYDUNG LUU and JASON LUU, shall forfeit to the United

17   States: all property, real and personal, that was involved in, used in,

18   or intended to be used to commit or to facilitate the commission of the
19   violations and all property traceable to such property; and all property,

20   real     and    personal,         constituting       or    derived     from     any    proceeds     the

21   defendants           obtained,     directly     or       indirectly,       as   a    result   of    the

22   violations and any property traceable to such property,                                including but
23   not limited to the following: $301,636.00 in U.S. Currency.

24           25.     If    any   of    the   above-described        forfeitable           property,     as   a
25   result of any act or omission of the defendants,
26           ( 1)    cannot be located upon the exercise of due diligence;
27           (2)     has been transferred or sold to,                or deposited with,            a third
28   person;

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 1         (3)     has been placed beyond the jurisdiction of the court;

 2         (4)     has been substantially diminished in value; or

 3         (5)     has   been   commingled   with   other    property     which   cannot    be
 4   divided,

 5   it is the intent of the United States,               pursuant to Title 28,         United

 6   States      Code,   Section 2461(c),    and    Title       21,   United   States    Code,
 7   Section 853(p),       to   seek   forfeiture   of    any    other   property   of    said
 8   defendants up to the value of the above-forfeitable property.

 9 All in violation of Title 18, United States Code, Section 1594(d), and

10   Title 28, United States Code, Section 2461(c).

11         DATED: December 10, 2019.

12                                                       A TRUE BILL:
13
14                                                       Foreperson
15   ROBERT
     United
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17   By:
                    ERP. TENORIO
18         Assistant U.S. Attorney
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